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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

     UNITED STATES OF AMERICA

     v.                                  Case No. 8:13-cr-190-T-17MAP

     COREY A. COLEY, SR.

                            FORFEITURE MONEY JUDGMENT

           THIS CAUSE comes before the Court upon the United States' Motion for a

     Forfeiture Money Judgment in the amount of $96,747.00.

           Being fully advised of the relevant facts, the Court hereby finds that at least

     $96,747.00 in proceeds was obtained from the conspiracy and the theft of

    government property to which the defendant pled guilty.

           Accordingly, it is hereby:

           ORDERED, ADJUDGED, and DECREED that for good cause shown, the

     United States' motion is GRANTED.

           It is FURTHER ORDERED that, pursuant to 18 U.S.C. § 981(a)(1)(C), 28

     U.S.C. § 2461(c), and Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure,

    the defendant be held jointly and severally liable with co-defendants Corey Coley,

    Sr., and Albert Moore, Jr., and co-conspirator Mattie Philon (See United States v.

    Philon, Case No. 8:13-cr-157-T-35EAJ), for a forfeiture money judgment in the

    amount of $96,747.00.

           It is FURTHER ORDERED that, upon entry of this order, it shall become a

    final order of forfeiture as to the defendant.
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          The Court retains jurisdiction to address any third party claim that may be

    asserted in these proceedings, to enter any further order necessary for the

    forfeiture and disposition of such property, and to order any substitute assets

    forfeited to the United States up to the amount of the forfeiture money judgment.
                                                             I r7 t V w
           DONE and ORDERED in Tampa, Florida, this          I ‘__________day

    of   M a v d k . ________ _, 2014.




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